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              hers, but, you know, she just in her             1                  Now she's saying, as I just                E-FILED
                                                               2                  Monday,
                                                                         stated, she          28 September,
                                                                                     relinquished these duties to2020 01:42:08 PM
2             interrogatories stated , "Well, I
              relinquished those duties to my assistant        3         someone. I don't know whoClerk,
                                                                                                      sheU.S.  District
                                                                                                          stated  she Court, ILCD
3
4             warden."                                         4        relinquished these duties to.
5                         Well, why didn't you tell the        5    Q.  Sure. Do you have any evidence she
6             inmates of Henry Hill Correctional Center        6        specifically denied you a religious diet?
7             that, because everyone that's in here is         7    A. She denied every Catholic here when she
8             under the belief that you are in charge of       8        refused to sign that document when Rojas
9             this? We don't know that you relinquished        9        sent it to her in '18, because we filled
10            these duties to this. And not only that,         10       them out. He circulated them in '18. We
11            who is this person that you relinquished         11       filled them out and we gave them back to
12            these duties to? You're saying an                12       him. But she refused to sign it whether
13            assistant. You have two assistant wardens        13       approving or denying it.
14             here. You have an Assistant Warden Williams     14   Q . Have you ever spoken to Stephanie Dorethy
15            and you have Assistant Warden McLaughlin.        15       about a need for a religious diet?
16                        So .who are you stating that you     16   A. No.
17             relinquished these duties to? You're just       17   Q. Have you ever written to her about it?
18             saying you relinquished these duties to your    18   A. No, just in my grievance when it went -- it
19            Assistant Warden of Programs. Who is your        19       went to her office to let it be known that
20             Assistant Warden of Programs?                   20       this was happening in your institution, that
21                        Since Dorethy been kicked out of     21       your chaplain is not seeing to it that the
22             here, we don't even know who the warden         22        Catholic parishioners be fed. The Dietary
23             here, let alone who's the Program warden.       23        Department is not seeing to it the Catholic
24             They say he's a warden. Whoever is filling      24       parishioners be fed. The counselors not

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1           in is the warden, the warden, the acting            1        seeing to it that the Catholic parishioners
2           warden, and I guess someone else is doing          2         being fed. Nor is the grievance officer
3           Assistant Warden of Programs. So we don't          3         seeing to it that the Catholic parishioners
4           know what the -- what is going on around           4         being fed. So that right there went to her
5           here.                                               5        office.
6        Q. Sure. My question was what is your claim            6   Q.   The grievance you're talking about?
7           against Stephanie Dorethy?                          7   A.   Yes.
8        A. That she oversaw this entire procedure and          8   Q.   Do you have any evidence that Stephanie
9           done nothing to stop it.                            9        Dorethy was actually aware that ~-
10       Q. Do you have any evidence that she was              10   A.   Yes --
11          involved in issuing offenders religious            11   Q.   -- you weren't receiving a religious diet?
12          diets?                                             12   A.   Yes, because like I just stated, it went to
13       A. Say that again.                                    13        her office. Before it leaves this
14       Q. Do you have any evidence Stephanie Dorethy         14        institution, she has to sign off on that
15          was involved in issuing offenders religious        15        grievance.
16          diets or approving their religious diets?          16   Q.   Do you have any evidence that she actually
17       A. Yes, because on that form it states that           17        read any of your grievances about your
18          once Rojas issues lthe form out to the             18        religious diet?
19           Catholic parishioners and we are to sign it       19   A.   It's in the grievance forms when she signed
20           and return it back to him, then he turns it       20        off on what was it -- was it the 5th? I
21           over to the warden. And even states that on       21        think it's Q , yes, Exhibit Q. Go to Exhibit
22          the -- that you have here. And to my               22        Q . See Exhibit Q. I refer you to Exhibit
23           understanding she was the warden during the       23        Q.
24          time that I filed this lawsuit.                    24                  But that's when she signed off on
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          it, which let me knew (sic} she had full1       accommodations in which we were supposed to
2         knowledge of what was going on.         2       be provided.
3    Q.                                           3 Q. Do you know if you had -- do you have any
          Anyways, okay. Are your only claims against
4         her about your religious diet?          4       evidence that he had any authority with
5    A.   Are those my only claims?                           5         regards to deciding which inmates received
6    Q.   Against Stephanie Dorethy.                          6         religious diets?
7    A.   Yes, that she oversaw a program that                7    A.   Yes.
8         conspired against the Catholic prisoners             8   Q.   What specifically?
9         that kept them from being provided their             9   A.   Well, when I spoke to him, I told him what
10        Catholic Lent mea I.                                10        he was doing was against the law, for he was
11   Q.   Do you have any evidence that Stephanie             11        discriminating against members of the
12        Dorethy wanted to discriminate against you          12        Catholic faith, yet you're issuing religious
13        because you were Catholic?                          13        diets to other religions.
14   A.   Well, that's a proven fact when she signed          14                   And he told me, "Well, Mr.
15        off on that grievance and she denied it.            15        Rojas -- Chaplain Rojas makes out the list."
16   Q.   But do you have any evidence that it was her        16                   "He can't give me Lent meal."
17        intent to discriminate against you?                 17                   And he said, "We didn't cook
18   A.   That speaks for itself.                             18        anything because he didn't give us, for one,
19   Q.   So other than the grievance, you have no            19        a number of food - how many people were
20        evidence that she wanted to discriminate            20        gonna get this meal and who it was supposed
21        against you?                                        21        to be given to. So until he makes up this
22   A.   Asked and answered.                                 22        list," meaning Rojas as "he," "no Catholic
23   Q.   But you didn't answer.                              23        was getting anything."
24   A.   I did answer. I just said --                        24
                                                                                                            ___.. __
                                                                                   I said, "Well, you know, you can




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     Q. Because of the grievance she signed off                1        go off the back of our 1.0.," because on the
2         on --                                                2        back of our 1.0. states who is Catholic and
3    A.   Yes.                                                 3        who is not.
4    Q.   - that's your evidence that she intended to          4                     And he said, "No, I can't do
5         discriminate against you?                            5        that," he said, "because if I do that,
6    A.   Yes.                                                 6        that's a form of discrimination, because if
7    Q.   My question is is t_tiere any evidence in            7        I give it to you because it says 'Catholic'
8         addition to that grievance that you have -           8        on yours, there might be a Catholic over
9    A.   She done --                                          9        here that's Catholic but it doesn't say that
10   Q.   -- showing that she --                              10        on his."
11   A.   You know, before this became a lawsuit, she         11                     I said, "So you are aware what
12        could have stopped this from becoming a             12        you're doing is discrimination?"
13        lawsuit --                                          13                     He said, "Have a good day."
14   Q.   Okay.                                               14                     So that's my problem with Mr. Fred
15   A.   -- and she chose not to.                            15        Britton. And he never went and - he never
16   Q.   So you don't have any additional evidence?          16        stated throughout the whole grievance
17   A.   No.                                                 17        process -- for one, they never even
18   Q.   Okay. What is your-claim against or claims          18        consulted with him, Counselor Gans or
19        against Freddie Britton?                            19        Grievance Officer -- Counselor Frost or
20   A.   That he had full knowledge that the Catholic        20        Grievance Officer Gans never went and spoke
21        parishioners of Henry Hill was being                21        to Mr. Freddie Britton in the Dietary
22        deprived of their Catholic meal and done            22        Department as to why he was doing what he
23        nothing to help us out in the matter to see         23        was doing.
24        to it that we be fed and receive the                24                     And he knew well aware that he was
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 1                                             1 Q. Do you recall any of those specific
          a big part of this lawsuit, because on the
2         face page of the grievance I stated the           2         occasions?
3         Dietary personnel. And he didn't even go          3    A.   It was always during the month time of Lent.
 4        take a deposition or anything from Freddie        4         And it got to the point that like he say, he
5         B. as to why this was happening, nor did          5         wasn't gonna keep havin' this debate with
6         Freddie Britton call Mr. Rojas.                   6         me. It's already ~ and that's what I
7                     Because he could have easily          7         understood, until Rojas makes out the list,
8         picked up the phone, because the phone is         8         there's nothing happenin'.
9         right there. He could have easily picked up       9    Q.   Did Freddie Britton say you have to request
10        the phone and say, "Hey, these Catholics are      10        from the chaplain --
11        coming through here. They want to know why        11   A.   He said until he makes out a list no one is
12        they're not given a Lent meal."                   12        getting anything.
13                  · "Well, until you send Dietary a       13   Q.   Is there anything else Freddie Britton did
14        Lent meal to go off of, no one is getting .       14        to you with regards to this lawsuit?
15        anything."                                        15   A.   No.
16                    So he could have stopped it. But      16   Q.   Steve Gans, what are you alleging that he
17        see over here no one wants to do the next         17        did to you in this case?
18        person's job, even though they know the law       18   A.   Well, he lied first and foremost, he lied.
19        is being broken. It's like if you're my           19        Because when he went to speak to -- let me
20        boss and you don't tell me what to do and         20        get it right. When he went to speak to --
21        here comes an inmate trying to tell me what       21        no, no, that wasn't them. I was thinking of
22        to do, if you don't tell me what to do, I'm       22        Gans. Because --
23        not going to send it to this inmate. But I        23   Q.   That's what I'm asking about, Gans.
24        know what he's telling me is right, but           24   A.   You asking about Gans?




                                                       98                                                          100
1         until you tell me, I'm not doin' nothin',         1    Q.   Yes.
2         and that's how things work around here.           2    A.   Okay. No, Gans, his -- my problem with Gans
3    Q.   Okay. So based on what you said, it's my          3         was he lied and stated that when he spoke
4         understanding that Freddie Britton told you       4         with Rojas, that Rojas stated that he wasn't
5         that he could not provide special diet meals      5         going to answer any more of my questions
6         unless he had a list from the chaplain?           6         when, in fact, Rojas never stated that he
7    A.   Chaplain Rojas, correct.                          7         wasn't gonna answer any more of my
8    Q.   Okay. And you think he should have provided       8         questions.
9         you that meal anyways?                            9                    When Counselor Frost spoke to
10   A.   Or he should have called Chaplain Rojas or        10        Mr. Rojas and Mr. Rojas stated he wasn't
11        brought it to the warden's attention, "Hey,       11        going to answer any of my questions, but
12        these Catholics are coming over here,             12        Defendant Gans tried to hoodwink the whole
13        they're askin' for their meal. Rojas needs        13        process and stated that he stated that he
14        to get us a list over h_
                                 ere."                      14        wasn't going to answer any more of my
15                    He wasn't concerned in the least      15        questions without legal representation.
16        bit to see that we be fed. And that's my          16                   And I'm like that's not what was
17        thing with him. Because he could have -- he       17        stated in Counselor Frost's deposition of
18        could have -- he could have took it a step        18        Chaplain Rojas.
19        further to where we wouldn't be here today.       19                   Chaplain Rojas stated he's not
20   Q.   And how many times did you speak to Freddie       20        going to say anything without legal
21        Britton?                                          21        representation. He's not going to answer
22   A.   I spoke to him on numerous occasions.             22        any of my questions.
23   Q.   About your religious diet?                        23                   But he rephrased it when it went
24   A.   Yes.                                              24        to Gans. That's why I say he lied. He
                                                                                 - - --          -·---   -   -
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        said he's -- Chaplain Rojas said he's not           1      Advisory Board that they have here. Every
 2      going to answer any more of Mr. O'Neal's            2      institution in the Illinois Department of _
3       questions without legal representation. It          3      Corrections has a Religious Practice
4       wasn't that he wasn't gonna answer any more.       4       Advisory Board.
5       He wasn't going to answer any.                      5                  ·So anything that a Catholic,
6    Q. Okay. What involvement did Mr. Gans have            6      Muslim, or so forth, whatever denomination
7       with your religious diet request?                   7      is saying that they should be given this or
8    A. Well, he could  have, one,  went to the             8      that, if they have a problem with that, they
9       Dietary Department and asked Mr. Britton,           9      could go consult with the Religious Practice
10       "Well, Mr. Britton did you have a                  10       Advisory Board.
11       conversation with Mr. O'Neal pertaining to         11                    So he didn't go speak to the
12       his Lent diet?"                                    12       Religious Practice Advisory Board. He
13                  It was of no concern. That's my         13       didn't go speak to the Dietary Department.
14       problem with him. It was of no concern,            14       He failed -- he neglected to do his due
15       because he didn't take the initiative, nor         15       diligence.
16       the time out to go and speak to the Dietary        16    Q. So your issue with him really is that he did
17       personnel, because as far as he was                17       not-
18       concerned, to hell with the Catholic               18    A. He   didn't do his job. He didn't do his job.
19       parishioners. So that was my problem with          19    Q. Which was to what? What was his job
20       Mr. Gans.                                          20       specifically?
21   Q . So Mr. Gans didn't deny you any religious          21    A. I just - I just told you what his job was.
22       diet, he just --                                   22    Q. Other than you having said it now, what
23   A. No, he did deny me that. Because he denied          23       evidence do you have that those things you
24       me the right of going to speak to Gans,            24       just listed were his job?
                                                                                           -   ·- - -


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1       because if he would have went and spoke                   A.  He failed to consult with the people he
2       to -- I mean, if he would have went and              2        should have went to to straighten out this
3       spoke to Freddie Britton, he could have told         3        problem.
4       Freddie Britton, "Hey, man, give these guys          4    Q. Okay.
5       that fish tray, you know. This is causing a          5    A. Rectify the problem.
6       lot of problems here. This would be better           6    Q . What evidence do you have that it was his
7       off just give these guys this fish tray and          7        job to speak specifically with the Religious
8       I could sign off stating that from this              8        Practice Advisory Board?
9       moment moving forward these guys are going           9    A. That's what the Religious Practice Advisory
10      to be fed this meal."                               10        Board is in every Illinois Department of
11                  But by you failing to do your job       11        Corrections facility, if you have a problem,
12      to walk over there to the Dietary Department        12        grievance officers, counselors, they tell
13      to consult with either Freddie Britton or           13        them that if there is a problem with that,
14      the Dietary manager as to why is this               14        consult with them to find out if this person
15      happening, that showed of no concern to him         15         is to be -- what's the word that I'm looking
16      and, like I said, to hell to the Catholics.         16        for -- accommodated with whatever you asking
17   Q. Do you have any evidence that Mr. Gans had          17        to be accommodated with.
18      the authority to tell Dietary to provide you        18                     You know, I can tell you, "Hey,
19      the specific meal?                                  19        I'm Jewish, I want for Passover, I want this
20   A. Yes, that's his job, you know, because he           20         meal."
21      could have went over there and told him , you        21                    So they're gonna check that, is
22      know what I'm sayin', that I'm a counselor,         22         Mr. O'Neal Jewish or not?
23      I looked into this, I talked to -- he could         23                     "Chaplain Rojas, is he Jewish?"
24      have even went to the Religious Practice            24                     "Not to my understanding."
- --                        - -· - -                                                       --      - --           --
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 1                   And then they go to the Religious        1 Q. So you attended that school?
2       . Practice Advisory Board because they just           2 A. Yeah, the school is no longer called
 3        can't stop with Chaplain Rojas, because I           3        St. Bonaventure's. They changed the name.
4         can practice any way I choose to practice,          4        But the church is still St. Bonaventure.
 5        and I'd even go to the Religious Practice           5 Q. Did you ever become a confirmed Catholic?
 6        Advisory Board.                                     6 A. Say again.
 7                   "Do you know anything about              7 Q. Did you ever go through confirmation?
 8        Mr. O'Neal being Jewish, because he wants to        8 A. Yes.
 9        be doing this?"                                     9 Q. When was that?
10                   And they'll look on there, "Oh ,         10 A. When I was younger.
11        last we seen he signed up as being Catholic .       11 Q. And was that at St. --
12        He's not to get that meal," so I wouldn't be        12 A. St. Bonaventure, yeah.
13        given the meal. It's that simple .                  13 Q. Do you remember approximately when that was?
14                   But by you failing to consult with     · 14 A. God, that -- 1was back there like in '74,
15        the Religious Practice Advisory Board and by        15        '76, somewhere in there.
16        you failing to consult with the Dietary             16 Q. Okay. What are your claims against John
17        Department, which is Freddie Britton, or the        17        Frost?
18        Dietary manager, you've neglected to do your        18  A,    Pretty mu.ch the same as Grievance Officer
19        due diligence. You've neglected to do your          19        Gans. He failed to -- he neglected to do
20        job.                                                20        his job as well. Everything that I stated,
21   Q. Okay. Before we go to the next person, I              21        that he did not consult with the Religious
22        just had a couple things that I had thought         22        Practice Advisory Board, he didn't consult
23        of. Have you ever been baptized?                    23       with the Dietary Department, Freddie Britton
24   A. I was told that I was, but I was told that I          24        or the Dietary manager, nor did he try to
                                                                                                   - - --
                                                    106                                                            108
1         was young when I did. I don't recall being           1        consult with the warden, Stephanie Dorethy,
2         baptized, but I was told that I was.                2         as to the problem -- the ongoing problem
3    Q.   Do you know if that was in a Catholic               3         that was occurring here with the Catholic
4         Church?                                             4         parishioners of Henry Hill Correctional
5    A.   Yes .                                                5        Facility.
6    Q.   Did you -- do you know if you ever had              6    Q.   Is there anything else you're claiming he
7         communion?                                           7        did to you?
8    A.   Yes, I take communion here regularly.                8   A.   Mr. Frost?
9    Q.   Do you remember having a First Communion?            9   Q.   Yes.
10   A.   I was young. I couldn't remember.                   10   A.   He didn't do his job.
11   Q.   Okay. Did you ever attend catechism                 11   Q.   Okay. Nothing else?
12        classes?                                            12   A.   That's it. He didn't do his job. He didn't
13   A.   When I attended St. Bonaventure's, yes.             13        do his due diligence.
14   Q.   I'm sorry, I don't --                               14   Q.   What about Melissa Phoenix, what are your
15   A.   I said when I attended St. Bonventure's.            15        claims against her?
16   Q.   St.?                                                16   A.   That she did not forward this back to the
17   A.   Bonaventure's.                                      17        institution that it came out of, because I
18   Q.   How do you spell --                                 18        pointed out - and I'm trying to see what
19   A.   B-O-N-A-T-U-R-E (sic), Bonaventure, yeah.           19        exhibit is that - I want to say it's P.
20        It's been awhile since I been over there.           20        That I pointed out to her in there that on
21        It's located on Diversy in Chicago. I think         21        the grievance - on the grievance -- on the
22        the address is 1726 West Diversy.                   22        grievance form, in order for it to reach her
23   Q.   And that's just a church?                           23        destination, which is in Springfield, as
24   A.   No, that's a school and a church.                   24        being the Administrative Review Board
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1        officer, that one of the things that she              1        with it.
2        supposed to look at first and foremost is             2                   And I filled out a Certificate of
3        whose signature resides in that space which           3       Service along with a letter and I sent that
4        is that box designated for the CAO to sign            4       to the director pinpointing exactly what I
5        in his or her signature only.                         5       just told you, there's a problem with that
6                    And I had a problem with that             6       signature being in that box and that there's
7        signature, because as I stated in Exhibit --          7       a problem in the institution, and I'm hoping
8        1think it was P, is that that signature               8       that you can rectify the problem.
9        looked very odd to me, because it didn't              9                   Well, he coincided with what
10       look like a signature that I was used to              10      Phoenix said, there's no problem with
11       seeing that Dorethy name was signed in that           11      whatever is going on over there, they know
12       box. Because I said that -- that whoever              12      what they're doing.
13       signed that form, that document, didn't know          13                  So now I'm forced to bring a
14        how to spell Dorethy's name. Because that            14       lawsuit because I gave you every opportunity
15        signature bears -- to me it looks like it            15       from the institution from Chaplain Rojas,
16       says Days, D-A-Y-S, and they didn't know how          16       from the counselor, from the grievance
17       to spell Stephanie, so they just abbreviated          17       officer, you see what I'm saying, from the
18       the S. So I pinpointed that to her                    18       director --1 mean the Administrative Review
19        attention first and foremost, which she              19       Board person, and to the director to rectify
20        knows being the Administrative Review Board          20       the problem, but you refuse to rectify the
21        officer that that box is designated only for         21       problem. So now we've got to fight in the
22        the chief administrative officer.                    22       federal judicial court about a fish sandwich
23                    So I said it looked like that            23       that should be given, you know.
24        signature has been forged, and if that's the         24   Q. So just to be clear, you don't believe that

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                                                         110                                                               112
1        case, then that form needs to come back                       Stephanie Dorethy actually signed your
2        here, because whoever signed off on that is           2       grievance?
3        letting it be known that we're aware of               3    A. I don't know who signed it, but I said it
4        what's been going on.                                 4       just didn't bear a signature that was known
5                     So she had no problem with that          5       to me to be hers. So I wanted to know if
6        signature being in that box. And for that             6       she did not sign it, who signed that box.
7        reason she signed -- she denied my grievance          7    Q. And your claim against Melissa Phoenix is
8        stating that it's been addressed at the               8       that she did not --
9        institution and they're in agreement with             9    A. She -- she didn't do her due diligence.
10       it, you know, and they're not gonna bother            10   Q. So you're suing her because of her
11       with it.                                              11      involvement in a grievance procedure?
12                    And I'm li,ke that's crazy because       12   A. Right. Because she could have easily
13       I just told you you have a whole                      13      corrected this immediately. It wouldn't
14       congregation of people not being fed and              14      even have had to go to the director.
15       that's definitely against the law in the              15                  She could have sent this back to
16        courts but I'm trying to let you straighten          16      the institution saying, "I have a problem
17        it out before we get to this point because           17       with whoever signed this signature because
18        it's not too late to forward this grievance          18       he's given me two exhibits of how Stephanie
19        back to the institution and rule in my favor         19       Dorethy's name appears , and every signature
20        instead of denying it but concurring saying          20      that I'm seeing that he showed me," which
21        that, yeah, this signature, there's                  21       was two, "and I'm looking at the signature
22        something faulty with it, and this procedure         22       in this box and none of the three match one
23        is unconstitutional. so give these guys what         23       another. So whose signature is in this box?
24        they have coming. But she had no problem             24       And, Warden Dorethy, what is your signature
                                                                        - - - -       --      - ---    --       --- ·--·
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1           just for," you know, "so I would know?"             1          Phoenix and all of them have denied of
2                       But she didn't care whose               2          seeing to it that the Catholic parishioners
3           signature was in the box. She didn't care           3          be accommodated this alternative meal for
4           about having the IDOC and seven defendants          4          Lent, non-meat religious diet.
5           be brought into a federal judicial court            5       Q. Do you have any evidence that John Baldwin
6           about a fish sandwich. So, you know, that's         6          personally received your letter?
7           where we're at with it.                             7       A. I just told you. I have the -- I have the
8        Q. Is there anything else you are claiming             8          return receipt of service after it was
9           Melissa Phoenix did to you in this case?            9          delivered to his office stamped, not just
10       A. That's it.                                          10         with his name on it, stamped "Received."
11       Q. All right. What are your claims against             11      Q. Received by what?
12          John Baldwin?                                       12      A. By the•· whoever delivers the mail, United
13       A. Well, I hold him at fault very heavily              13         States Parcel, whoever it left off to, that
14          because, as I stated a few minutes ago, I           14         it was delivered to his office.
15          sent him a certified letter which I had to          15      Q. So it's -- the stamp says that it was
16          pay likes $6 and something for the certified        16         delivered to his office?
17          postage and like 3 to be returned back to me        17      A. Yes.
18          that he received it. So I paid a total of           18      Q. Doesn't say that it was specifically
19           like maybe $9 and some change advising him         19         delivered to him, correct?
20          what was going on here at Henry Hill                20      A. Well, it has his signature on there. It has
21           Correctional Facility, and he chose to do          21         somebody's signature on there that it's
22           nothing about it.                                  22         being received.
23       Q. First, what evidence do you have that he            23      Q. But you don't know if it's his signature?
24           received this letter?                              24      A. It's someone's. It someone's over there.
                     - -   -   -- -   - -   -   ·



                                                          114                                                           116
         A. I have the -- it's all in-· it's all there.                 Q. Other than the stamp that says that it was
2           And I also have --                                  2          received by the directo(s office, do you
3        Q. What do you mean it's in here? In the               3          have any evidence that John Baldwin
4           Complaint?                                          4          personally read your letter?
5        A. Yes. It's towards the back. It's towards            5       A. Yes, because when he signed off on the
6           the back.                                           6          grievance, he signed off to everything that
7        Q. What specifically is it that I'm looking            7          was attached to that because the letter that
8           for?                                                8          I sent to him is attached to that grievance
9        A. I showed him -- I showed him•· I think it's         9          as well, so he definitely read the letter.
10          the money voucher. It's at the end. It's            10      Q. So if it's not his signature on the
11          way past -- it should be - well, like I             11         grievance, would you agree that he --
12          said, I have copies of the receipt for ·            12      A. I can't agree to nothin' on that because I
13          certified mail --                                   13         wouldn't - like I say, only they know what
14       Q. Okay.                                               14         goes on over there. I'm incarcerated over
15       A. - that he received it. Then I have the              15         here in Galesburg. That's in Springfield.
16          money voucher where they signed off that            16         Solcan't. ..
17          they took the money out of my account for it        17      Q. Do you know if John Baldwin did actually
18          to go to Springfield.                               18         sign the grievance personally?
19       Q. What evidence --                                    19      A. Again, I stated, it went to Springfield,
20       A. And I got the return receipt after he               20         someone, whether it was him or someone,
21           received it from Springfield returned back         21         signed the signature stamped as being
22          to me letting me know that he was in fact in        22         received, and it was addressed to Baldwin.
23           reception of the letter that I stated to him       23      Q. Okay. Have you ever spoken to John Baldwin?
24           along with the grievance that Melissa              24      A. No.

     -        - --     ----                 -   -   - --            -   -- -      -    -    -   -   -   -·   ----   -   ~   -- -- -
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     Q.   Have you ever spoken to Melissa Phoenix?          1       getting anything.
2    A.   No. They in Spring:field, like I said . .I'm      2                  So as far as what he was actually
3         over here in Henry Hill.                          3       thinking, you know, does he have somethin'
4    Q.   So have you ever - other than your                4       against Catholics -- as far as I know, he
5         grievance have you ever communicated with         5       might be Catholic. I don't know what for.
6         Melissa Phoenix about your dietary needs?          6      He was going off of if this guy isn't
7    A.   Through grievance.                                 7      getting anything, you guys aren't gettin'
8    Q.   Just the grievances, okay.                         8      anything.
9                    Have you ever spoken to John            9   Q. Do you have any evidence that Steve Gans
10        Frost?                                            10      wanted to discriminate against you because
11   A.   Personally, yes.                                  11      you were Catholic?
12   Q.   You have?                                         12   A. He wanted to do something other than do his
13   A.   Yes.                                              13      job. He didn't -- he wasn't in favor of
14   Q.   About your dietary needs?                         14      going out of his way to see to it that we be
15   A,   Yes.                                              15      fed.
16   Q.   What specifically -- when did you talk to         16   Q. Other than what you just said is there any
17        him?                                              17      other evidence that you had that he wanted
18   A.   After he signed off on my grievance.              18      to discriminate against you because you were
19   Q.   And what did you guys talk about?                 19      Catholic?
20   A.   I told him why he didn't go to the Religious      20   A. His actions spoke for itself. Speaks
21        Practice Advisory Board and why did he deny       21      volumes.
22        the grievance.                                    22   Q. Okay. So nothing besides what you talked
23   Q.   Okay. And what did he say?                        23       about?
24   A.   He said he's not going to get into that, he       24   A. His actions speaks volumes.




                                                      118                                                       120
1       addressed that issue already.                            Q. Do you have any evidence that John Frost
2    Q. Did you guys have any other discussion about        2         wanted to discriminate against you because
3       it?                                                 3         of your religious --
4    A. No, because that -- it's -- from that point         4    A.   Same answer, his actions speaks volumes.
5       on, it's moot, you know. He's not going to          5    Q.   What about Melissa Phoenix, and evidence --
6       talk about it anymore, that was clear.              6    A.   Same answer, actions speak volumes.
7    Q. So did you have any other discussion with            7   Q.   What about John Baldwin, any evidence that
8       him about your dietary needs?                        8        he wanted to discriminate against --
9    A. That was clear that was moot from that point         9   A.   Same answer, actions speak volumes.
10      on.                                                 10   Q.   So other than actions speaks volumes,
11   Q. Is anybody other than Manuel Rojas involved         11        there's no other evidence that you have that
12      in your claim about not being allowed to go         12        those defendants we just talked about wanted
13      to Cursillo?                                        13        to discriminate against you because of your
14   A. No, just him.                                       14        religion.
15   Q. Do you have any evidence that Freddie               15   A.   You say me. I wouldn't say me. I would say
16      Britton wanted to discriminate against you          16        the Catholic parishioners, because I'm not
17       because of your religion?                          17        the only one that wasn't been fed. It
18   A. I can't say that, no. I don't know what's           18        wasn't like they fed the Catholics and
19      going on in his mind. I don't know -- to be         19        excluded me. They excluded all Catholics.
20       honest with you, I believe that, like I said       20        So it wasn't a thing, oh, we don't want to
21      earlier, I just believe that no one wants to        21        feed Mr. O'Neal. They didn't want to feed
22      do no one else's job here, and he was going         22        Catholics period in Henry Hill Correctional
23      off - you know, until this guy gives me a           23        Facility.
24       list, he's sticking to his guns, no one's          24   Q.   Are there any other claims you have against
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 1         any of these defendants other than what        1         Britton?
 2         we've just talked about today?                 2    A.   No, that's not their department. That all
 3   A.    Everything that might be with -- whether       3         falls on Chaplain Rojas.
 4        it's the Catholic defendants, the Catholic      4    Q.   And same with Dorethy too then, right?
 5        Church defendants --                            5    A.   Yeah.
 6   Q.   Just the defendants you and I talked about.     6                MR. ANKNEY: All right. I'm going to
 7   A.   Everything I stand on what's in the             7          look through my notes.
 8        grievance and in the lawsuit.                   8                MR. AHMAD: I'll follow up some.
 9   Q.   Do you know if meatless Fridays are going to    9
10        be provided in 2020?                            10   FURTHER EXAMINATION BY MR. AHMAD:
11   A.   That's not here yet, so I can't say if it is    11   Q.  Just to follow up on what was being asked
12        or not.                                         12       earlier, ultimately you said the decision on
13   Q.   Do you have any evidence that Hill              13       whether or not the special dietary meals
14        Correctional Center will not provide            14       were being provided were Defendant Rojas's
15        meatless Fridays in 2020?                       15       decision?
16   A.   It hasn't gotten here yet, so I can't say it    16   A. Correct.
17        will or it won't.                               17   Q. Defendant Rodriguez or Lahood could not have
18   Q.   Okay. I bereve one of the things you talk       18       ordered Rojas to act one way or the other;
19        about in your Complaint is that you were        19      they could have just advised, is that
20        discriminated against, Catholics were being     20       correct?
21        discriminated against because other             21   A. Right, advised, exactly.
22        religions were provided with special diets,     22   Q. But not order?
23        correct?                                        23   A. See, I'll say this, and I would like to have
24   A.   Right.                                          24      this stated for the record if it does any
                                                           - - - -- -            - -    --   -   --    --

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 1   Q.  Do you have any evidence that John Baldwin                  good in moving forward, when this case is
 2      personally determines which religions get          2         all come to a conclusion, I honestly believe
 3      religious diets?                                   3         that the Catholic Church should sit down and
 4   A. No, that's not on him. That's Chaplain             4         speak to the Department of Corrections and
 5      Rojas.                                             5         see to it that when Lent comes about if
 6   Q. So not Melissa Phoenix either; she had no          6         they're able to provide meals for the
 7      involvement in the discrimination?                 7         Catholics themselves to where things like
.8   A. That's Chaplain Rojas.                             8         this could never get out of hand and get to
 9   Q. Okay. And I'm just going to go through them        9        this point.
10      just so we're clear.                              10                     Because the Jewish faith, they
11                 John Frost doesn't have ?ny            11        take care of their own. And they take care
12      involvement in that claim, correct?               12        of them through New York. For when it's
13   A. I can't say -- I can't say about Frost,           13        time for them to celebrate whatever they do,
14      because I would say that could -- if he           14        all their accommodations are sent in here
15      would have done his job , he could have went      15        from an outside vendor and approved to come
16      over there and spoke to Chaplain Rojas, you       16        in so they be accommodated.
17      know.                                             17                     And I believe that's what the
18   Q. Other than speaking to Chaplain Rojas,            18        Catholic Church should see to it to where
19      there's nothing else that he's --                 19        they'll know for sure that the Catholics are
20   A. He don't have no -- he don't have no --           20        being taken care of to where they don't have
21      whether you gonna be Catholic or, you know,       21        to be involved in any shenanigans, whatever
22      Muslim or whatever, that's not his                22        the Illinois Department of Corrections
23      department.                                       23        chooses to do to the Catholic parishioners.
24   Q. Okay. And does the same go for Gans and           24   Q.   You mentioned previously that since the
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         lawsuit has been filed that 95 percent of           1         vegan meals -
 2       the time you've had meatless Fridays.               2   A.    No. Rojas and Dorethy. That's what I told
3    A. Yes.                                                 3         you, that's what that form consists of.
4    Q. Okay. Describe to me how you had meatless            4         Rojas sends it to you. You sign it. Now
5        Fridays since. And I think you filed suit           5         Rojas relay back stating - if he signs off
6        in March of 2018, and you're talking about          6         on it, he sends it to Dorethy, but she said
 7       every Friday.                                       7         she relinquished those duties to her
 8   A. Listen, what I mean by that is, like I said,         8         Assistant Warden of Programs . So whoever
 9       you might have something that was made of           9         that person is, he looks at it.
10       say for instance rice, and they got some           10                     I guess the procedure would be to
11       stuff in here we don't know what that stuff        11         check to see are you of that religion, and
12       is. You don't know what it is, you know            12         with Rojas signing his signature, I guess
13       what I'm sayin'?                                   13         that's the stamp of approval saying, well,
14                   So if you gonna eat around the         14         okay, if he has no problem with it, the
15       rice, you see what I'm sayin', and you             15         chaplain, well, I'll sign it, and now it
16       really look at it, this stuff-- who                16         goes to the Dietary Department, and your
17       knows -- what is this stuff, you know? What        17         name will come on the form.
18       is it?                                             18                    And when you go over there you'll
19   Q . What about in 2017?                                19         say, "I'm here to pick up my Lent tray. My
20   A. What do you mean 2017?                              20         name is Aaron O'Neal."
21   Q. So you're saying since the lawsuit was filed        21                    "Okay. Sign right there.''
22       95 percent of the time you had meatless            22                    And they'll give you a tray and
23       Fridays.                                           23         walk off. But there's never no. . .
24   A. I'm saying before this.                             24   Q.    Did you ever reach out to Dorethy regarding
          --    --     --    --    --     -- -- - -                   - - - -- --       --    - -    -    - ·


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1    Q.   Since 2005 -                                      1           a vegan meal?
2    A.   Right.                                            2    A.     Through my grievance.
 3   Q.  - 95 percent of the time you had meatless          3    Q.     Not before that?
4         Fridays?                                          4    A.     No, because Dorethy don't talk to anyone.
5    A. Yes.                                                5    Q.     Okay. Did you ever ask anyone for a vegan
6    Q. And you mentioned something about a vegan           6          meal?
7        choice. How does that work?                        7    A.    Yes.
8    A. Well, that's -- if Rojas approves the diet,         8    Q.    When?
9        that means that we're not to be fed anything       9    A.    Freddie B. Freddie B. Freddie Britton.
10       with meat products. We have to -- you can          10   Q.    Who's that?
11       give us soup, tomato soup, or anything of          11   A.    That's --
12       that nature, but that's what they choose to        12   Q.    Oh, Freddie Britton?
13       do here, you know.                                 13   A.    Yes.
14                  Since like I told you this past         14   Q.    When did you first ask for the vegan meal?
15       year, they gave the cheese and -- grilled          15   A.    During Lent.
16       cheese and the pizza , which there's no meat.      16   Q.    What year?
17   Q. But how would you go about getting the              17   A.    Well, when -- the first time that I asked
18       meat - a vegan meal if you wanted to?              18         him about the meal, he laid back and told me
19   A. You would have to write whatcha-call -              19         that it wasn't gonna happen.
20       what's his name? Chaplain Rojas. You have          20   Q.    What year?
21       to contact him to let him know are you going       21   A.    There again, that was in '16. And I asked
22       to send the slips out so I can be                  22         him again.
23       accommodated the meal for Lent.                    23                    "That's not gonna happen."
24   Q . So Rojas is the only person that can approve       24   Q.    Okay. So you asked him during Lent in 2016?
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1    A.  Every year we go over there we ask them,           1    BY MR. AHMAD:
2        "Meals, meals, there's nothing here, there's       2    Q. There's a grievance procedure in place --
3        nothing here."                                     3    A. Correct.
4    Q. Where do you ask him? Do you ask him in his         4    Q. - correct?
5        office?                                            5                   Did you ever file a grievance
6    A. In the chow hall. In the chow hall.                 6        saying that you never received that dietary
7    Q. In the chow hall?                                   7        form?
8    A. Yeah, in the chow hall.                             8    A. Yes, it's there.
9    Q . So essentially you show up to the chow hall        9    Q. When did you first file a grievance saying
10       and then you say, "I want a Lent meal" --          10       that the form is not being provided to you?
11   A. Right. And he says, "There is none."                11   A. 2016.
12   Q . Did you ever ask for a vegan meal in               12   Q. So from 2005 to 2016 you never made a
13       writing?                                           13       grievance on that?
14   A. No. You can't ask for it in writing.                14   A. No, because see, it's good that we have that
15       That's like -- that would do away with the         15       point too because throughout this whole
16       whole procedure of the form. It's gotta be         16       procedure I never knew what they were doing
17       on the form or it's not being honored. I           17       was against the law. I just thought we
18       could write 20, 30 letters to Rojas, this          18       were, you know, as they say blank out,
19       and that, if it's not on that form, you're         19       A-out, you know, you not receiving it.
20       not getting anything.                              20                   So one day in 2016, that's when
21              MR. ANKNEY: I'm sorry, I just -- I          21       the guy told me. he said, "Man, you know
22        was confused there for a second. Did you          22       what they're doin', they're discriminatin'
23        say you never submitted a request for a ·         23       against you guys. They're givin' them to
24        vegan diet in writing?                            24       all the other guys."




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                THE WITNESS: The request has to come        1                   He said, "The reason why this is
2           to you. You cannot request - the only           2       happenin' is because you guys aren't filing
3           thing you could ask is he's gonna send them     3       grievances and no one is sayin' nothing."
4           out. If he chooses to send them out,            4                   I said, "We are. We are saying
5           that's on him. You can't make him send          5       something."
6           them out. You can't take a plain sheet of       6                   I said, "We are saying something,
7           paper and say, "Mr. Rojas, I want to be fed     7       but it's not being honored."
8           a Lent meal, non-meat diet, honor this."        8                   He said, "Yeah, you can tell them
 9                    No. It's gotta be on that form or     9       that you want to be fed until you're blue in
10        it does not get honored. That's the form          10      the face," but he said, "until you file a
11        that I showed you.                                11      grievance on that, they're gonna keep doin'
12                    What was that form? I forget          12      what they're doin'."
13        what -- I think it's -                            13   Q. So in 2016 you filed a grievance requesting
14                MR. ANKNEY: The Offender Request for      14      Form DOC-- .
15          Religious Diet?                                 15   A. No, we ask for them forms every year.
16                THE WITNESS: It's 8, yes. If it's         16   Q. Did you ever file a grievance that you were
17          not on that form, you're not getting it.        17      not receiving the form?
18          You can write --you can write on a plain        18   A. No, no, no.
19          sheet of paper or a blank sheet of -- you       19   Q. You never filed that grievance?
20          know, lines (sic) with paper (sic), if it's     20   A. I told you until 2016 because I didn't
21          not on that form and it does not go through     21      think -
22         the procedure, you are not --                    22   Q. So in 2016 did you file a grievance for it?
23                                                          23   A. Yes.
24                                                          24   Q. So you filed a grievance through the
          -       --       --   -   -- -   -           ~
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1             channels to get this form?                  1 Q. What was the response?
2    A. No, I let them know that it was not being                             2    A.   You have it right there.
3       honored.                                                              3    Q.   What was it? What's your understanding?
4    Q. In the grievance?                                                     4    A.   Everybody was shut down by the counselor,
5                    Well, no, my question is do you                          5         the grievance officer, the warden, ARB
6       file a grievance saying that you're not                               6         Board, and Melissa Phoenix, and the
7       receiving the form?                                                   7         director.
8    A. Yes. It's in there. I told them in my                                 8    Q.   When was the decision made on that
9       grievance, I said that Rojas is not sending                           9         grievance?
10      the -- you know, he's not accommodating,                              10   A.   It's all in there.
11      he's not seeing to it that we don't -- we're                          11   Q.   What year was it?
12      not getting what we supposed to --                                    12   A.   That was in 2016, '17. It's in there.
13   Q. I'm not asking about the meal. I'm asking                             13   Q.   Okay.
14      about the form.                                                       14   A.   That's -- it's in Exhibit T. One signed off
15   A. Right.                                                                15        on the 4th and one signed off on the 5th.
16   Q. So your grievance in 2016 says Rojas did not                          16        believe Melissa Phoenix signed off on - no,
17      provide the form to you?                                              17         I'm thinking -- I'm thinking -- that was
18   A. I guess. It's in there. It's somewhere in                             18         Gans and Dorethy, that was on the 4th and
19      there. I told them in there that he's not                             19        the 5th. And Gans - I mean, Phoenix and
20       issuing the form which he's supposed to.                             20         Baldwin signed off right after one another
21       It's in the grievance.                                               21         as well. But that's Exhibit Q of the
22   Q. And when in 2016 did you file that                                    22         original grievance.
23      grievance?                                                            23   Q.    Sorry, so you filed a grievance on April 14,
24   A. April, I think it's 16, is the grievance?                             24         2016.
                                                                          -   - - - - --            - ---     --      -- --- -- ---

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               What is it, April 16 or April 14, I believe.                        A.   Yeah, '16. And they signed off on it -- it
2    Q.        So April of 2016?                                              2         ended -- it left Springfield -- Exhibit Q,
3    A.        Yeah.                                                          3         it should have the date on there.
4    Q.        Is that what you're saying?                                    4    Q.   I'm going to show you a set of documents.
5    A.        Yes, April 16 or 14, one of them.                              5         Is this the grievance that you had filed?
6    Q.        Of 2016?                                                       6    A.   Yes, ~his is the grievance.
7    A.        2016.                                                          7    Q.   Is that the entire grievance?
8    Q.        Okay. And when was Lent in 2016?                               8    A.   With the attachments, the supplemental
9    A.        It was still in effect, if that's what                         9         attachments on Frost and Gans -- I mean not
10             you're asking. It's accounted there, which                     10        Frost and Gans, but Rojas and Frost.
11             I pointed out in there.                                        11   Q.   Is there anything missing from that
12                          And I let it be known Lent is                     12        grievance that I provided you?
13              still going on as I'm doing this right now.                   13   A.   This is it all the way from -- all the way
14              So, man, this could stop right now, but they                  14        up to H from - only thing that's missing
15              chose not to stop it.                                         15        from here at the beginning of the grievance
16   Q.         Okay. And then in 2017 did you get a form,                    16        is A through -- A, B, C, Dis not here.
17              DOC --                                                        17   Q.   Did you include that in the Complaint?
18   A.       . No, they did not give us a form --                            18   A.   All that's attached is exhibits. A, B, C,
19   Q.         Did you file a grievance in 2017?                             19        and D is all exhibits. It goes to - that
20   A,         No, because I've already filed it and irs                     20        goes -- that coincides with the grievance,
21              ongoing, so there was no need to --                           21        goes with the grievance.
22   Q.         Was there a response to the grievance that                    22   Q.   Were they filed as part of the grievance?
23              you filed in 2016?                                            23   A.   Yes.
24   A.         Yes.                                                          24   Q.    Okay. So are these what you're talking

-    --       - --     -   ---                 -   -       -- -   -   -
                                                                --                                  --      - --   -
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1        about?                                                                (Deposition Group Exhibit A so
2     A. Yes, these are all the affidavits.                                    marked for identification)
3     Q. Okay. So of all of this, and I'm going to         3
4        give you this too (indicating).                   4    BY MR. AHMAD:
5     A. Except P. P and Q is not here.                    5    Q. Show us in that exhibit where you requested
6     Q. Do you have a P and Q?                            6        specifically form DOC0388.
 7    A. P, Q, and R is not there. Because R is when       7    A. I got in here when I told -- I was letting
 8       I saw that counsel from Loevy & Loevy,            8        him know that Rojas has not issued that.
 9·      that's R. Q is Baldwin and Mrs. Phoenix           9        But I don't use the number as on that page
10       denial of the grievance. And P is Dorethy's       10       as what you stated, because I didn't know
11       showing that --                                   11       the number. Right here where I got #10,
12    Q. The only thing I'm asking right now, if you       12       paragraph 10. I said, "Chaplain Rojas
13       could identify from these exhibits that are       13       without a doubt is supposed to prepare
14       in front of you what were the grievances          14       Catholic Lent alternative list to Dietary
15       that you filed. I don't want to know what         15       Department."
16       the response was, just what you filed.            16   Q. And that's #10 on what is marked page 21 of
17    A. Everything is intact right here up until P,       17       27 in the packet.
18       Q, and R.                                         18   A. This is page -- page 5, paragraph 10,
19    Q. So   like this was something that you filed or    19       "Chaplain Rojas without a doubt is supposed
20       something that they presented to you              20       to prepare Catholic Lent alternative list to
21       afterwards (indicating).                          21       Dietary Department personnel. However,
22    A. No, this is what Rojas sent to me and I used      22       chooses not to do so which not only leaves
23       that as an exhibit in part of my grievance.       23       Dietary Department personnel from preparing
24    Q. So this entire packet is something that you       24       how much food to prepare for this service




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         filed?                                             1        meal, but also deprives Catholic from our
 2    A. Yes.                                              2         Friday Lent meals."
 3    Q. Including from the front page?                     3   Q.   Okay. And just for identification, this is
 4    A. Yes.                                              4         Document No. 1-1, page 21 of 27; is that
 5    Q. Exhibit A?                                         5        correct?
 6    A. Yeah, this is all --                              6    A.   That's what it states at the top. 1 of 1,
 7    Q. Was this in the grievance?                        7         pages 21 of 27. And on the grievance page
 8    A. Yes.                                               8        is listed on page 5.
 9    Q. Okay. So what you're saying is the exhibits       9    Q.   Okay.
10       that you -                                        10   A.   Of the original filing of the grievance.
11    A. All that's a part of the grievance. It's          11   Q.   Is that it or is there anywhere else that --
12       been filed and gone all the way through the       12   A.   I kind of figured I could go right to it.
13       institution all the way up to Springfield         13        I'm quite sure it's probably somewhere else
14       and now is in the U.S. District Court of          14        in here. It's pointed out, if that's what
15       Springfield.                                      15        you're trying to say. It's all throughout
16    Q. Okay. So all the exhibits that were filed         16        here. In you want to take the time out, we
17       with the Complaint are part of the grievance      17        can go further.
18       packet?                                           18                     Well, I tell in here, I say on
19    A. Yes.                                              19        paragraph 5, page 4 of the original
20    Q. Okay. And I'm going to mark them as -             20        grievance, I say, "Catholic inmates here at
21    A. Only ones missing out of there, like I say,       21        Henry Hill Correctional Center for numerous
22       is P, Q, and R.                                   22        years have been deprived of alternative
23                                                         23        during Lent which starts Ash Wednesday and
24                                                         24        concludes on Easter Sunday which prohibits

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1         all Catholics from consuming products on            1         circulates the forms, we can fill them out
2         Friday."                                            2         and get them back to him and we'll take it
3                     But that's the wrong -- then I          3         from there to see if the warden -- and she
4         go on. Then it just -- dietary personnel --         4         say she relinquish those duties to her
5         which is 6, "Dietary Department personnel           5         assistant warden so someone can see to it
6         here at Henry Hill Correctional Center              6         that we be accommodated.
 7        refuses to accommo<late the necessary                7   Q.   Did you file any other grievances --
 8        alternative meals such as fish due to                8   A.   Just --
 9        they're left at a disadvantage for Chaplain          9   Q.   So this is the -
10        Rojas refuses to supply Dietary Department          10   A.   That's the only grievance.
11        with an approved list Lent for Catholic             11               MR. AHMAD: I don't think I have
12        participants," right here on page 5,                12          anything further.
13        paragraph 6 at the top.                             13               MR. ANKNEY: Okay. I have a few
14    Q. Okay. Is this Document No. 1-1 , page 21 of          14          things.
15        27?                                                 15
16    A. I can't read it upside down.                         16   FURTHER EXAMINATION BY MR. ANKNEY:
17    Q . Is that correct?                                    17   Q. I'm going to back to probably the very
18    A. It says 1 of 1, pages 21 of 27. And on the           18       beginning of this deposition because I can't
19        original grievance page 5, paragraph number         19       remember what you specifically said. But I
20         6.                                                 20       don't know if you recall, you previously
21    Q.   Okay.                                              21       talked about during the discussion about the
22    A.   "Refuses to supply Dietary Department with         22       religious diet for Lent, that one of the
23         an approved Lent list for Catholic                 23       deacons said that you were exempt. Do you
24         participants."                                     24       recall that?



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 1    Q. Okay. Is there anywhere else that you                 1   A. Yes.
 2       believe that the grievance requested that             2   Q. What did you mean by that?
 3      form DOC0388 be provided to you?                       3   A. Well, in my production of documents and
 4   A. Here we go again. Paragraph 12 of the same             4      request for production of documents I think
 5       page, "I was only asking Chaplain Rojas why           5      it was Deacon -- well, not I don't think.
 6      was it he refuses to make out a Catholic               6      It was both. It was Deacon Joe Lahood and
 7       Lent list and why is it that other religious          7      Deacon Robert Rodriguez stated that
 8      groups receive what they're entitled to,               8      Catholics are exempt from receiving non -meat
 9       plus receive celebratory feasts after each            9      religious meals, which I know that's a lie
10      one of their traditional religious periods,           10      because the Illinois Department of
11       but not Catholics. Chaplain Rojas stated             11      Corrections administrative directive state
12      Catholics can have celebratory feasts but             12      that you are to be accommodated if you're
13      it's up to the deacon to address such issue           13      Catholic, and they tell you what you're
14      and not myself."                                      14      supposed to be accommodated with , which is
15                  That's on page 5 and 6, paragraph         15      Exhibit H which is in there.
16      12.                                                   16   Q. And I assume they meant while incarcerated
17   Q. So the same page and the following page?              17      that the Catholics are exempt from non -meat?
18   A. Yeah, on 1 of 1, pages 22 of 27 on that one.          18   A. There's no such thing though. Like I said.
19   Q. Okay. Anywhere else? .                                19      only one that can exempt such a thing is
20   A. No, that's. . .                                       20      God, and he hasn't done that.
21   Q. That's it?                                            21                 No sitting pope, archbishop,
22   A. That should be enough right there. Showing            22      cardinal, priest, or deacon has the
23      that he's not doing what he's supposed to             23      authority, nor the right, to speak for
24      do. It's a simple procedure if he                     24      another practicing Catholic as how you
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1             choose to practice your religion. And they       1         cabbage.
2             know we are all supposed to abstain from all     2                      So he stated I'm going to give a
3             meat products during Ash Wednesday and all       3         dispensation, so I'm going to let the
4             Fridays of the year.                             4         Catholics that choose to, it's your choice,
5    Q.       Okay. I think you said that God has never        5         because you have the freedom of the right to
6             said that you're exempt from the rule that       6         choose how you choose to practice, if you
7             you can't eat meat on Fridays during Lent?       7         want to indulge in meat, you can consume
8    A.       If so, produce the document_where it states      8         meat for the St. Patrick holiday if you are
9             that.                                            9         Irish , but do so in moderation.
10   Q.       I guess how would we know that?                  10                     However, Pope -- not Pope, Bishop
11   A.       Well, you know, the Catholics know that.         11        Paprocki out of Springfield, he oversees 28
12   Q.       Like so the pope could say --                    12        county -- he oversees 28 parishes in central
13   A.       No, the pope can't say it.                       13        Illinois told us regardless of what Cardinal
14   Q.       The pope wouldn't be able to make that --        14        Blase stated in that article you got, do not
15   A.       No, that's why I say - I just sent that to       15        break your practice and indulge in meat,
16            your office and Mr. Ahmad's office               16        because we are supposed to abstain from
17            yesterday. I filed that yesterday.               17        meat, so don't listen to that.
18   Q.       If the pope said --                              18                     So if you're Irish and you want to
19   A.       The pope can't say.                              19        do so, do so. If you want to have meat,
20   Q.       Why?                                             20        you're gonna be pardoned or forgiven for
21   A.       Because that's their -- that's the freedom       21        that. But those that are not Irish, we
22            of the right to practice how you want to         22        know -- even Irish know we weren't supposed
23            practice. But that's one of the rights that      23        to indulge in that.
24            all Catholics are given that we must follow.     24                     And 28 counties that Paprocki
     -    -    -   -   --

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         We are not supposed to eat that. Now,                           oversees, that being one of the 28 counties,
2        like --                                               2         Knox County, which I reside here
3    Q . Who makes that determination?                         3         incarcerated, I know first and foremost that
4    A. Listen, you, you make that -- well, that               4         we weren't supposed to follow that, and we
5        goes back before my time. But anyway, it's            5         didn't.
6        an article that I submitted along with that           6    Q.   Okay. Since you were returned to the list
7        grievance that Mr. Ahmad was just speaking            7         to partake in Cursillo, you haven't been
8        of, and that was a letter that Cardinal               8         removed from that list?
9        Blase out of Chicago out of the Holy Name             9    A.   Say that again.
10       Cathedral gave a dispensation to all the              10   Q.   Since you were returned to the list to
11       Irish Catholics because it coincide with --           11        participate in Cursillo --
12       it conflict -- I'm not gonna say - it                 12   A.   Oh, no, they won't take me out of there for
13       conflicted with St. Patrick's Day.                    13        nothin'.
14                    And from my understanding being          14   Q.   So you've been in Cursil!o consistently --
15       Catholic is that the Irish, even though I             15   A.   Yeah, they won't take me outta there for
16       have an Irish name, O'Neal, that they're              16        nothin'. As a matter of fact, they made
17       supposed to consume and -- corn beef and              17        sure I'm one of the ones that attend.
18       cabbage during St. Patrick Day.                       18   Q.   Okay. Rojas is no longer --
19                    Just so happened that year St.           19   A.    No.
20        Patrick's Day fell during the time of Lent.          20   Q.   - the chaplain at Hill, correct?
21       So he was caught between a rock and a hard            21   A.    Norman Reece is. She's the head chaplain.
22        place saying, well, do we break from                 22   Q.   You said between 2005 and 2017 you were
23       abstaining from meat, or do we follow the             23        denied a special dietary for Lent, correct?
24       Irish tradition and have our corned beef and          24   A.   I was denied since being in Hill
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          4 :18-cv-04063-SEM-TSH    # 12~     ge# 38
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1         Correctional Center since 2005 up until now.          1   A.   Right. And punitive damages.
2    Q.   Okay. So, for instance, 2005 when Lent was           2    Q.   Sure. How did you come to these numbers for
3         occurring and you were denied a tray on              3         compensatory damages?
4         Friday that was specifically meatless, when          4    A.   Throughout the years and all of the
5         did you realize that your rights were being          5         distress -- well, I won't say distress, but
6         violated?                                            6         throughout all the years, that's what
7    A.   I done told you, I didn't realize that until         7         brought me to that number.
8         2016 when I was complaining -- me and a              8    Q.   So it's -- when you say "distress" what do
9         couple more Catholics was complainin', and           9         you mean by "distress"?
10        it was an older gentleman sayin', "Man,              10   A.   No, I just -- not distress. I'm not
11        that's the problem right there because you           11        focusing on no distress. Throughout all the
12        guys are always talking amongst yourselves           12        years, that's how I came up with that
13        and you're not gettin' nothin' done, and             13        amount.
14        until you put something on paper, nothing is         14   Q.   I don't understand. What do you mean?
15        going to be done about it. That's why you            15   A.   For them not feeding us.
16        haven't been given it."                              16   Q.   Okay.
17                   He said, "Do you know that you            17   A.   You know. That's how I come to the
18        need to be up in the law library because             18        conclusion. That's how I wanted to set the
19        what Chaplain Rojas is doing, he's violatin'         19        bar at.
20        the constitution, because if you go to the           20                    I don't even know why the Catholic
21        law library and pull some cases, you'll see          21        Church is still here, because I tried to
22        he's been discriminatin' against you guys            22        settle with the Catholic Church.
23        for years."                                          23   Q.    How did you come to these numbers for
24                    And I didn't know nothin' about          24        punitive damages?



                                                         150                                                          152
 1        it. And when I finally went up there and I                A.  Say that again .
2         got to readin', I'm like, wow, you know,             2    Q. For punitive damages how did you come at the
3         this is what's been goin' on, you know.              3        number you listed?
4    Q.   I guess my question was more about religious         4    A. Same reason as I give for compensatory.
5         rights. So each time you didn't receive a            5    Q . I think you previously said that you talked
6         meatless meal on Friday, at the time you             6        to Freddie Britton about receiving a vegan
 7        didn't receive it, you realized your                  7       meal, correct?
8         religious rights were being violated,                 8   A. Yes.
9         correct?                                              9   Q . He can't approve a special diet tray,
10   A.   Yes.                                                 10       correct?
11   Q.   What damages are you seeking against                 11   A. But see, he could break it. Even though he
12        Stephanie Dorethy in this case?                      12       can't approve it, it's still his department
13   A.   It's in the Complaint. Compensatory and              13       as to should I or shouldn't I, meaning
14        punitive damages in the Complaint. At the            14       should I give him the list (sic), because I
15        end of the Complaint.                                15       do see this on his -- back of his I.D. he is
16   Q.   And what are you seeking compensatory                16       Catholic, should I give this meal to him,
17        damages for?                                         17       you see what I'm sayin'?
18   A.   It's in the Complaint.                               18                   He can break -- even though Rojas
19   Q.   No, I mean -- okay. So in the Complaint it           19       chose not to send him a form, he could go
20        looks like you say page 12 of 13 under               20       off of that right there and give us, because
21         Section B, Compensatory Damages.                    21       there's - as I stated earlier, there's
22   A.   Yes.                                                 22       kosher meals provided in that Dietary on a
23   Q.    So is that the compensatory damages that            23       daily basis, lactose, and vegan.
24        you're seeking?                                      24                   And at the end of the day there's
                       4:18-cv-04063-SEM-TSH
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        a lot of that stuff that's cooked and they         1         harm as a result of not having your meatless
2       don't even serve it because some guys that's       2         meals on Friday?
3       on those lists, no matter what denomination        3    A.   No.
4       they're in, they don't even come because           4               MR. ANKNEY: I think that's all I
5       they got food in the ir box, so they don't         5          have.
6       have to go to the chow hall. So they might         6               MR. AHMAD: I think I might have a
7       decide to skip their kosher or lactose or          7          couple more questions for you.
8       vegan or whatever. So there's leftovers,           8
9       whatnot.                                           9    FURTHER EXAMINATION BY MR. AHMAD:
10                  So it was in his power to lay back     10   Q . From what I understand your concern with
11      and say, "Well, you know what, there is some       11       Rodriguez or Lahood and the Catholic Church
12      food back here; I can give this gentleman a        12       is really their failure to act; is that
13      vegan tray."                                       13       correct?
14   Q. So you wanted Freddie Britton to give you a        14   A. Yes.
15      vegan tray even though you weren't on a list       15   Q. Not - they were not discriminating against
16      for a vegan tray?                                  16       you because you were Catholic?
17   A. There was no list, right.                          17   A. No, because they're Catholic too. That's
18   Q. Okay.                                              18       why I told them when I was talking with
19   A. Not that I know of, because he said, you           19       Mr. Uphoff or something like that, I told
20      know, until Rojas sends one over, no one's         20       him at the end of the day I too am Catholic,
21      getting anything.                                  21       so maybe we can come to a meeting of the
22   Q. When did you talk to him about - oh, I             22       minds where we can put this behind us.
23      think you said you talked to him about it in       23       Because I honestly believe, like I say, with
24      2016 during Lent; is that correct?                 24       the Jewish denomination, they see to it that




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1    A. I talked -- yes.                                   1        their parishioners be fed.
2    Q. If this case were to go to trial, who would        2                   So I was thinking, you know,
3       you call as witnesses?                             3        moving forward that should be one of the
4    A. Well, you already know that because we had a       4        things that the Catholic Church should do,
5       conference call on that. John Lovell               5        because I honestly believe if they let the
6       (phonetic) is one of the witnesses, and I          6        Catholic Church feed the Catholic
7       have a few more. Because see, there's more         7        parishioners of Henry Hill Correctional
8       Catholics that are under grievances right          8        Center, they'll do so. But if they don't
9       now and have -- getting ready to file              9        have the consent to bring us anything in
10      lawsuits pertaining to this same issue, but        10       during that time, we won't -- we'll continue
11      only they've been deprived of meals, not           11       to get nothing.
12      just through Freddie B., but there's               12   Q . Sure. So aside from the Catholic Church
13      another -- which you don't represent them as       13       stepping in and working with the state to
14      of yet.                                            14       provide the meals for you, going back to the
15                  A guy by the name of Steward           15       issue at hand, essentially your claim is
16      (phonetic), he's another one over there that       16       that the Catholic Church failed to intervene
17      turns guys away, you know. So there's quite        17       by --
18      a few guys that will be called that are            18   A. Staying silent.
19      Catholics that submitted affidavits that           19   Q. They stayed silent?
20       haven't been fed too that's gone over there       20   A. Right. Staying silent. And they knew
21      and have been turned down by more than just        21       firsthand of what was going on throughout
22       Freddie Britton.                                  22       all these years and could have -- I think
23   Q. Has any medical professional ever told you         23       they could have done more.
24      that you suffered some sort of injury or           24   Q. Okay. And it wasn't an issue of the
     - -4:18-cv-04063-SEM-TSH   # 121tst,P. ge# 40
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1         Catholic Church working with the Department          1       place in tip-tip shape.
2         of Corrections to deprive you?                       2                    And I only thinking that maybe the
3    A.   That's what it seemed to me.                         3       Catholic Church should sit down with the
4    Q.   So it seems to you that it's more of they            4       director to see how they can help better get
5         stayed silent?                                       5       an understanding as to things, like I said,
6    A.   That they were working with them because             6       like this •· you know, we don't have to be
7         they done nothin' to stop it.                        7       going through - this is -- to be truthful,
8    Q.   How were they working with them?                     8       this is senseless talking about a fish
9    A.   Well, like I say, you know, they could --            9       sandwich, but that's where we're at with it.
10        they could have taken this on very easily to         10   Q. Right.
11        speak to Warden Dorethy, and they never told         11   A. Because that's too many people, because
12        Dorethy filing the grievance, hey, our               12      someone should have stopped it.
13        parishioners are constantly telling us that          13   Q. Okay.
14        other religions are being fed, they're given         14   A. Seems like no one cared.
15        feasts, and they're not being honored, why           15              MR. ANKNEY: I've got one real quick.
16        is this, can we put a stop to this.                  16
17   Q.   So the problem is they didn't speak up for           17   FURTHER EXAMINATION BY MR. ANKNEY:
18        you?                                                 18   Q. Do you know when Lent is in 2020?
19   A.   Right.                                               19   A. Yes. I hate that I didn't bring that
20   Q.   Not they actually went and said, hey,                20       calendar with me too because -- to answer
21        they're Catholics --                                 21       your question, you said you haven't got my
22   A.   No, no, they wouldn't do that, because               22       e-file, and neither did you, that I filed
23        they're Catholic too.                                23       yesterday, it got sent out yesterday. And
24   Q.   Okay. Just wanted clarification.                     24       in there is the calendar, because your




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1                     Is there anything that you feel is                 client - no, your client (indicating).
2         important for us to know and that you will           2         because the two law firms. Your client,
3         use at trial that we haven't asked you               3         Lahood and Rodriguez, stated in there --
4         about?                                               4         because I wanted to know_didn't you ever
5    A.   All I said, other than - other than --               5         have a conversation with Rojas as to
6         other than - like I said, I guess moving             6         advocating for the Catholic parishioners.
7         forward -- because see, we have a new                7         And they said we don't advocate on behalf of
8         director too now that they got rid of that           8         the Catholic parishioners because you're
9         Baldwin, right? And he's a more of a                 9         exempt.
10        reformed individual. I was reading up about          10                    So I asked them another question ,
11        him, how he - he was personally sent here            11        which, like I say, you haven't answered
12        from Washington to clean up the Illinois             12        those interrogatories either. I stated in
13        Department of Corrections. And he's had              13        there, I said, "Well, at any time have you
14        some success in the prison systems in Ohio.          14        ever spoken to Rojas personally for us being
15                     And since he's been director in         15        provided a Lent meal?"
16        this last probably last two months or month          16                    And he gave us that at least. He
17        and a half or so, you see this place                 17        said, "Yes, I spoke to Chaplain Rojas about
18        starting to change more because you're not           18        you guys' Lent meal."
19         locked up all day. He's putting it to where         19                    So I'm which one is it, you
20        you can get into school, start letting the           20        advocated for us or you don't, because you
21        guys get their good time. You know, it's             21        just stated in one of the interrogatories
22        all about, you know, getting back on track,          22        you don't advocate for us, but in another
23        doing the right thing. So I think he's               23        you stated, yes, I sat down and I spoke to
24        doing the right thing as far as getting this         24        Rojas about your Lent meal.

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     --   - -- -        -     ____
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1                 You see what I'm saying?                     1          you.
2                 So back to the question that you             2     Q.   Well, I was asking you if you knew when
3     were stating in that calendar, because they              3          Easter was next year, because I wanted to
4     say -- so I say, well, okay, how is the                  4          know if you had submitted a request --
5     prison put on notice what they're supposed               5     A,   You keep saying -- we don't submit requests.
6     to do when Lent comes? This is coming from               6        We can't do that.
7     the Catholic standpoint because I know how               7     Q. Okay.
8     the Illinois Department of Corrections deals             8     A. The requests must be sent to us, because
9     with that, because it's in the                           9        they have a list of who's all Catholic.
10    administrative directives. They know what                10    Q. Okay.
11    we get, how much we're supposed to get, and              11    A. So if they don't know of you being Catholic,
12    when we're supposed to get it.                           12       you not gonna receive a form, a request
13                But I wanted to find out from the            13       slip. You don't write Chaplain Rojas or the
14    Catholic Church how do you advise the prison             14       new Chaplain Reece and state, "Well, hey, I
15    when Lent is coming, or do you advise the                15       want to be on this."
16    prison when Lent is coming. They said, no,               16                  They send that to you if they
17    the only thing that we do with Catholic                  17       choose to send it to you.
18    prisons pertaining to the Catholic inmates               18    Q. Okay.
19    is I consult with Chaplain Rojas through                 19    A. That haven't come yet, so I don't know if
20    e-mails and my yearly calendar.                          20        Norman Reece is going to circulate them in
21                 So you're the one that brought              21       2020, because that hasn't come yet.
22    that up out your mouth. So I said I want to              22    Q. I see. So you believe that the chaplains
23    see your calendar, you see what I'm sayin'?              23        are supposed to, without you asking for one,
24    And your clients refused to turn over                    24        send you a religious diet form for Lent?
                            - - --      -    -- - - -


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          through the production of documents the                    A.   Yeah, administrative directives explain
2         yearly calendar.                                     2          that.
3                     Well, I was just cleaning out my         3                 MR. ANKNEY: Okay. All right. I
4         box within the last week, and when I went            4           don't have anything else.
5         through there, I couldn't believe what I             5                 MR. AHMAD: Nothing further.
6         found, and that's what you're getting ready          6
7         to see because you say you haven't seen it           7                E1JRT!IE:'<. [;F.:PQ)JENT S,'.ITH NOT .

8         already, I got the yearly calendar.                  8                       S I GNl\TURE W!\J VJ,;L, .

9                     So I say, well, okay, this is what       9
10        the attorneys don't want the U.S. District            10
11        Court to see. Well, I have a copy of the              11
12        yearly calendar. And it goes back to your             12
13        question which brought me to this. When               13
14        it's Easter, it states from that yearly               14
15        calendar from 2019, it's called a Festival            15
16         Letter 2019. And it goes for everything              16
17        that Catholics celebrate, when we celebrate          ·17
18         it, what we're celebrating for every month          18
19        of that year, and it goes into 2020. And it          19
20         also goes into Easter where you were just           20
21         saying.                                             21
22                    So you have a copy of that when          22
23         you get back to your office, because I              23
24         e-mailed that to you. I e-filed that to             24
                                                                     - - - - - -- ·--                -      · - - ·- -    ---   --    --
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2    COUNTY c)F KNOX

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4                             C E   ~    T :   ~
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5        1 , i\my S . Powers, CSR, RrR, u. Kot.ury Public

6    duly c vmm.issioncd nnd qua li(Led .i.n Lh(~ Sl.d tC of

7    Ill ino.i.s , 00 '!ER!oBY Cf:RTU'Y Uiut pur suant Lo

8    notice Lhcre came bcfocc me on the 21!'.;L day o!

9    November ?019, al H.;nry IUJl Correction,] Center ,

10   in Lhe Cily of Galcsburq , Counl y c; Kr~ox, und

11   StriLC: of l l l 1. no1s ,         t.he fvl l vwinq named pe r son , t.o

12   w.iL :
13
14                                      MRON O ' lE i\L,

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16   r,;ho was by me firsc. duJy sworn to r:e stify to the
17   i:rut:h and r.ctching bui: the -:ruch of his know.1 edge
18   Louch inq and concct:'nirv..; Lhc mutters in

19   controversy in Lhls cause and that he                          WiJ.S


20   thcccupon Ci.lreiully cx,1.mincd upon his oalh and
21   his exa:ninat.i.on 'i.rrJnedi,J.tel_y red.ucc<.i to short hand
22   by mea ns uI stcnut,~e b y me .
23            r   1\LSO CER'l'IF'.i th,n: t.he deposition is a true

24   reco,·d c,f the t.ezcimcr:y y iven by the wi tness and




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3    authent.icaLinq S/Jid Lransc.ripL was a I.so waived .
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5    or counsel I•.lr, nor reLi.lt.cd Lo or employed by,
6    any of Lhc par.lies t.o :.he ~~t..iun in whi~h Li"1is

7     ieprn~ l tion i~ t.n:k!=n , and f1irt.ht:"! r·, LhRt. l am not. a

8     r~lu.t.i ve or employee of any allurney or counsel
9    employed by U1c pan.ics he ret.u , or financially
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 31/6 32 /8 3 3 /5 33/16 37/3            clearly [2]         40/6 40/8                                                                 104/1 104 /1 4 105/14 105 /16
 42/2 4 43/8 65/24 67/11 6 9/ 4          client [4]        41/3 160/1 1 60/1                                                          107/2: 107/22 10 8/1 161/19
 76/8 78/21 84/8 87/12 91/21                                                                                                         consulted [ 1]           96/18
                                           160/2
 95/15 98/6 98/ 7 98/10 99/ 1 0          clients [1]        1 61/24                                                                  consume [ 3 ]        1 7 / 9 1 4 6 /1 7 1 47 /7
 100/] 8 1 00 / 1 9 101/1 1 04 /23                                                                                                   consuming ( l]           1 41 /1
                                         coincide [1]          146/11
 105/3 1 1)/15 1 22 /4 122/8             coincide with [l]             1 4 6/11                                                      conta ct (3 ]        10/3 33/9 126/ ?.1
 122/16 1 22 / 1 8 123/3 126 /20                                                                                                     contaminat ed { l ]           63/ 21
                                         coincided [1]          11 1/9
 127/15 139/1 2 139/ 19 1 4 1/9          coincides [1]           13 6/20                                                             conti nue [ 1 J 1 56/1 O
 1 42/5 1 42/ 1 1 148/20 ] 48 /21        cold [3]       62 /17 6 2 /23 63/1                                                          contraband [SJ             4) /J'I 41/1 9
 1 4 9/19 1 60/17 161/19 1 63/ 1 3       come [30]       31/19 35/4 36/9                                                               41/21 42/2 4?./10
 1 63/1 4                                  40/ ] 7 40/18 40/20 4 6/12 50 / 10                                                        con t r o l [1 ]     68/20
chaplains [3]         2 9/19 30/18         50/1 7 58 /7 73/5 74/1 1 75/1                                                             controlling [1)              33/]9
 1 63/22                                   16/23 77/ ]1 85/15 8 7 /]0 110/1                                                          controversy [l]              165/19
charge [10]        1 2/22 29/1 4 29 / 16 124/ 2 124/ 15 12 7 / 17 13 0/1                                                             conversation [4 ]             6/ LO 27/ 1 1
 2 9/18 35/17 35/19 35/21 44 / 2 1 1 5 1 /2 151/ 1 7 151 /23 1 52/2                                                                    101/1 l 16 0/5
 45 /3 89/8                                1 53 /4 1 55/ 2 1 163/19 ]63/21                                                           cook [1 )      95 /1'7
check [3 ]     85/10 104/2 1 1 27 / 11 comes [6]         4 8/11 58/4 8 7/13                                                          cooked [1]         153 /1
checked [ 1]       85/5                    97/21 ] 24 / 5 161 /6                                                                     copi es [1)        1 14/1 2
cheese [ 7 ]     16/9 16/]9 1 6 /2 4      comin' [1]       40 /2]                                                                    copy [ 4 )     4 / 6 1 7 / 1 6 1 6 2 / 11
 2 4/2 1 59/15 12 6 /15 126/1 6           coming [14)        1 0 /11 14/12 30/ 21                                                      162/22
Chicago [2]        106/21 1 46 /9          36 / 20 4 9/ 4 58/8 59/1 87/9                                                             corn [ l]      14 6 /l /
chief [6]      12 /2 12/19 23/24           97/ 1 1 98/ )2 11 0/24 1 61/6                                                             corned [1)         146/2 1
 25 / 12 2 6 /9 1 09/2?.                   161/1 5 1 6 1 / 1 6                                                                       corne r [1]        1 2/13
choice [ 3 ]     52/19 12 6/7 147/ 4 commencing [l]               2/ 4                                                               correct [41 ]          17 /12 20/1 33/J
choir [1 )     '13/11                     commissioned [1 ]          165/6                                                             34/11 39/ 10 43/?. 44 /] ?. 4 6/1
choose [ 1 1]      40/5 52/8 52/ 20       communicated [2 )           34 / 1 117/5                                                     47/ 21 53/ 5 60/1 2 60/13 61/13
 85/14 1 05/ 4 12 6 / 1 2 1 45/1          communion [5]          38/19 46 /13                                                          61/ 15 61/1 6 63/1 11/20 7 4 /18
 14 7/4 147 /6 147/6 ] 63/17               10 6/7 106/8 1 06 / 9                                                                       75 /16 79/ 1 4 8 1 /l 82 ;11 87/ 17
chooses [ 3 ]      12'1/23 130/ 4         compel [1]       4/15                                                                        87/22 98/7 1]5 /19 1 21/23
  139/22
